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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

       v.                                               No. 15-cr-291
                                                        21-cv-937
 JOSEPH P. TOTORO, II




                                       ORDER

      AND NOW, this fifth day of October 2021, following an evidentiary hearing

(ECF 233), and upon consideration of Joseph Totoro’s pro se Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF 219), the

Government’s Response (ECF 225), Totoro’s post-hearing brief (ECF 236) and the

Government’s supplemental response (ECF 238), it is hereby ORDERED that

Totoro’s Motion is DENIED and a certificate of appealability SHALL NOT

issue. The clerk of court shall mark this case CLOSED for statistical purposes.


                                                     BY THE COURT:



                                                    /s/ Gerald J. Pappert
                                                    GERALD J. PAPPERT, J.




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